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                  EXHIBIT A
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  Earl D. Farr (1900-1988)                                                         99 Nesbit Street, Punta Gorda, FL 33950 | 941.639.1158 | f: 941.639.0028
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                                                                     240 Nokomis Avenue South, Suite 200, Venice, FL 34285 | 941.488.7751 | f: 941.485.0311

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                                                                                                                           ** FL Bar Board Certified in Real Estate
  Jack O. Hackett II**            Will W. Sunter†                    Brady H. Sharrer, Of Counsel                                †
                                                                                                                                     Certified Circuit Court Mediator
  Darol H. M. Carr†               Forrest J. Bass, LL.M.*            Noah A. Fischer, LL.M.
  David A. Holmes†                George T. Williamson               Nicole S. Peet
  Roger H. Miller III**           Brett H. Sifrit, CPA               Winston S. Hudson




                                                                 March 17, 2022

  VIA EMAIL
  SAGoldberg@duanemorris.com
  Seth A. Goldberg, Esq.
  Duane Morris LLP
  30 South 17th Street
  Philadelphia, Pennsylvania 19103-4196

              RE:         In re Valsartan, Losartan, and Irbesartan Products Liability Litigation,
                          No. 1:19-md-02875

  Dear Counsel:

          As discussed at the February 2, 2022 Case Management Conference, Plaintiffs lack
  material information regarding Defendants’ defense and indemnity agreements and obligations,
  including what if any payments have been made, and whether there are any ongoing disputes.
  Plaintiffs require this information to engage in the fulsome settlement negotiations contemplated
  by the Court. As such, Plaintiffs write to confirm the status of the various defend and indemnify
  obligations that exist between the Defendants, and request that Defendants provide responses to
  the following:

                                                                  Manufacturers

              ZHP:

                      1. Plaintiffs understand that Prinston, Solco, and Huahai US have agreed to indemnify
                         downstream customers. (Hai Wang Dep. 340:21-342:11). For each downstream
                         customer, please identify whether you have undertaken their defense and/or
                         whether you have agreed to reimburse the costs of defense, and whether and the
                         amount of any payments that have been made to date.
                      2. With respect to the downstream customers identified in response to question no. 1
                         above, please identify whether you have agreed to indemnify the customer for the
                         cost of any settlement or judgment that may be obtained against the customer in
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                       this matter, and whether and the amount of any payments that have been made to
                       date. (Hai Wang Dep. 342:14-343:5).
                 3. With respect to your downstream customers, please identify any disputes with
                    regard to defense and/or indemnification and if a formal claim or proceeding has
                    been initiated, identify the forum and status.
                 4. Plaintiffs understand that ZHP has agreed to defend and indemnify Prinston, Solco,
                    and Huahai US for all defense costs, and against any settlement or judgment that
                    may be entered against them in this matter. Please confirm this is accurate, and
                    advise of the status of all indemnification requests or payments to date.
                 5. Confirm that your settlement agreement with Teva, dated 12/20/2019, (ZHP ex.
                    409) is the only settlement agreement between any of the ZHP parties (including
                    ZHP, Prinston, Solco, Huahai US) and any other party related to the valsartan
                    contamination and/or recall, with the exception of Torrent.
                 6. Identify by Bates number or produce a copy of your final settlement agreement
                    with Torrent. (Jie Wang Dep. 318-320).
                 7. Plaintiffs understand that ZHP was engaged with Sandoz in arbitration regarding
                    the valsartan recall, please confirm and provide plaintiffs with the status of the
                    proceedings, and if there has been a resolution, please provide the documentation
                    thereof.
                 8. Identify any past or present litigation, arbitration, mediation, or other alternative
                    dispute resolution proceeding, between ZHP (or any ZHP entity) and Teva, or
                    Torrent, in connection with the valsartan contamination and/or recall, and please
                    provide plaintiffs with the status of the proceedings, and all documentation thereof.
           Torrent:

                 1. Identify by Bates number or produce a copy of your settlement agreement with
                    ZHP. (Gegenheimer Dep. 232:24-31).
                 2. For each downstream customer, please identify whether you have undertaken their
                    defense and/or whether you have agreed to reimburse the costs of defense, and
                    whether and the amount of any payments that have been made to date.
                    (Gegenheimer Dep. 220:9-224:13; 227:18-23).
                 3. For each downstream customer, identify whether you have agreed to indemnify the
                    customer for any settlement or judgment that may be obtained against the customer




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                       in this matter, and whether and the amount of any payments that have been made
                       to date. (Gegenheimer Dep. 220:9-224:13; 227:18-23).
                 4. With respect to your downstream customers, please identify any disputes with
                    regard to defense and/or indemnification and if a formal claim or proceeding has
                    been initiated, identify the forum and status.
           Teva

                  1. Confirm that your settlement agreement with ZHP (TEVA-MDL2875-00492240),
                     dated 12/20/2019, is the only settlement agreement between the parties related to
                     contaminated valsartan.
                  2. Confirm that there has still been no agreement between Teva and Mylan regarding
                     Mylan’s duty to defend and/or indemnify Teva related to contaminated valsartan.
                     If an agreement has been reached, please identify it by Bates number or produce a
                     copy of the agreement. (Jens Nassall Dep. 324:10-21).
                  3. Identify any past or present litigation, arbitration, mediation, or other alternative
                     dispute resolution, between Teva and ZHP, or Mylan, arising out of the valsartan
                     contamination and/or recall, and please provide plaintiffs with the status of the
                     proceedings.
                  4. For each downstream customer, please identify whether you have undertaken their
                     defense and/or whether you have agreed to reimburse the costs of defense, and
                     whether and the amount of any payments that have been made to date.
                  5. For each downstream customer, identify whether you have agreed to indemnify the
                     customer for any settlement or judgment that may be obtained against the customer
                     in this matter, and whether and the amount of any payments that have been made
                     to date.
                  6. With respect to your downstream customers, please identify any disputes with
                     regard to defense and/or indemnification and if a formal claim or proceeding has
                     been initiated, identify the forum and status.
           Mylan

                 1. Confirm that there has still been no agreement between Mylan and Teva regarding
                    Mylan’s duty to defend and/or indemnify Teva related to contaminated valsartan.
                    If an agreement has been reached, please identify it by Bates number or produce a
                    copy of the agreement. (Glover Dep. Vol. 4, 782-796).




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                 2. For each downstream customer, please identify whether you have undertaken their
                    defense and/or whether you have agreed to reimburse the costs of defense, and
                    whether and the amount of any payments that have been made to date. (Glover Dep.
                    Vol. 4, 782-796).
                 3. For each downstream customer, identify whether you have agreed to indemnify the
                    customer for any settlement or judgment that may be obtained against the customer
                    in this matter, and whether and the amount of any payments that have been made
                    to date. (Glover Dep. Vol. 4, 782-796).
                 4. With respect to your downstream customers, please identify any disputes with
                    regard to defense and/or indemnification and if a formal claim or proceeding has
                    been initiated, identify the forum and status.
           Aurobindo

                 1. For each downstream customer, please identify whether you have undertaken their
                    defense and/or whether you have agreed to reimburse the costs of defense, and
                    whether and the amount of any payments that have been made to date. (Steve Lucas
                    Dep. 212-213).
                 2. For each downstream customer, identify whether you have agreed to indemnify the
                    customer for any settlement or judgment that may be obtained against the customer
                    in this matter, and whether and the amount of any payments that have been made
                    to date. (Steve Lucas Dep. 212-213).
                 3. With respect to your downstream customers, please identify any disputes with
                    regard to defense and/or indemnification and if a formal claim or proceeding has
                    been initiated, identify the forum and status.
           Hetero

                 1. For each downstream customer, please identify whether you have undertaken their
                    defense and/or whether you have agreed to reimburse the costs of defense, and
                    whether and the amount of any payments that have been made to date.
                 2. For each downstream customer, identify whether you have agreed to indemnify the
                    customer for any settlement or judgment that may be obtained against the customer
                    in this matter, and whether and the amount of any payments that have been made
                    to date.




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                 3. With respect to your downstream customers, please identify any disputes with
                    regard to defense and/or indemnification and if a formal claim or proceeding has
                    been initiated, identify the forum and status.
                                                                  Wholesalers

     1. For each entity you purchased contaminated valsartan from, identify whether the entity, or
        some other entity on their behalf, is contractually obligated to indemnify you for any losses,
        costs of defense, or any damages, settlement, or judgment that may be entered in the
        litigation.
     2. For each entity you purchased contaminated valsartan from, identify whether the entity, or
        some other entity on their behalf, has agreed to indemnify you for any losses, costs of
        defense, or any damages, settlement, or judgment that may be entered in the litigation.
     3.    For each entity you purchased contaminated valsartan from, identify whether the entity,
           or some other entity on their behalf, has undertaken your defense or reimbursed your costs
           of defense, and where reimbursements made, state the amount.
     4. For each downstream customer, please identify whether you have undertaken their defense
        and/or whether you have agreed to reimburse the costs of defense, and whether and the
        amount of any payments that have been made to date.
     5. For each downstream customer, identify whether you have agreed to indemnify the
        customer for any settlement or judgment that may be obtained against the customer in this
        matter, and whether and the amount of any payments that have been made to date.
     6. With respect to your downstream customers, please identify any disputes with regard to
        defense and/or indemnification and if a formal claim or proceeding has been initiated,
        identify the forum and status.
                                                                     Retailers

     1. For each entity you purchased contaminated valsartan from, identify whether the entity, or
        some other entity on their behalf, is contractually obligated to indemnify you for any losses,
        costs of defense, or any damages, settlement, or judgment that may be entered in the
        litigation.
     2. For each entity you purchased contaminated valsartan from, identify whether the entity, or
        some other entity on their behalf, has agreed to indemnify you for any losses, costs of
        defense, or any damages, settlement, or judgment that may be entered in the litigation.




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     3. For each entity you purchased contaminated valsartan from, identify whether the entity, or
        some other entity on their behalf, has undertaken your defense or reimbursed your costs of
        defense, and where reimbursements made, state the amount.

         Of course, Plaintiffs are available to meet and confer regarding the requested information.
  Should you have any questions or concerns, please do not hesitate to contact my office. I look
  forward to your reply.


                                                                                              Respectfully,




                                                                                              George T. Williamson
                                                                                              For the Firm
  cc: DECValsartan@btlaw.com




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